905 F.2d 1532Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.James Ervin THOMPSON, Jr., Petitioner-Appellant,v.Sherill G. ALLEN, Superintendent of the Craggy Prison Unit;Attorney General of North Carolina;  Lacy H.Thornburg, Respondents-Appellees.
    No. 89-7229.
    United States Court of Appeals, Fourth Circuit.
    Submitted Jan. 25, 1990.Decided May 3, 1990.
    
      Appeal from the United States District Court for the Eastern District of North Carolina, at Raleigh.  James C. Fox, District Judge.  (C/A No. 88-665-HC)
      James Ervin Thompson, Jr., appellant pro se.
      Clarence Joe DelForge, III, Office of the Attorney General of North Carolina, Raleigh, N.C., for appellees.
      E.D.N.C.
      DISMISSED.
      Before PHILLIPS and SPROUSE, Circuit Judges, and HARRISON L. WINTER, Senior Circuit Judge.*
      PER CURIAM:
    
    
      1
      James Ervin Thompson, Jr. seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Thompson v. Allen, CA-88-665-HC (E.D.N.C. Nov. 13, 1989).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    
      
        *
         Judge Winter participated in the consideration of this case but died prior to the time the decision was filed.  The decision is filed by a quorum of the panel.  28 U.S.C. Sec. 46(d)
      
    
    